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   IT IS ORDERED as set forth below:



   Date: June 26, 2017                                 _________________________________

                                                                  Mary Grace Diehl
                                                            U.S. Bankruptcy Court Judge

  ______________________________________________________________




                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION


IN RE:                                    )
                                          )       Chapter 11
                                          )
DAVID AND VERDA DICORTE                   )
REVOCABLE TRUST,                          )
                                          )       Case No. 16-60447-MGD
       Debtor.                            )


                  ORDER APPROVING DISCLOSURE STATEMENT


       This matter came before this Court for hearing on June 22, 2017 (the "Hearing") on the

Debtor's Disclosure Statement, [Doc. No. 45] (the "Disclosure Statement") filed by David and

Verda Dicorte Revocable Trust ("Debtor") on May 11, 2017.

       This Court entered its Order Granting Conditional Approval of Disclosure Statement and

Notice of Assignment of Hearing Regarding Disclosure Statement, and for Confirmation of Plan

of Reorganization (the “Conditional Order”) on May 18, 2017 [Doc. No. 47].



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        At the Hearing, Howard Slomka, Esq. appeared on behalf of the Debtor, along with the

trustee of the Debtor Karen Yore. No other parties appeared or filed any objections to the

Disclosure Statement. The Court finds that he Disclosure Statement satisfies all requirements of

the Code. Accordingly, it is hereby



        ORDERED that the Disclosure Statement is approved as filed.

        IT IS FURTHER ORDERED that Debtor’s counsel shall serve a copy of this Order to

all interested parties and file a certificate of service on the docket.



                                       ***END OF DOCUMENT***



Prepared by
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